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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

In re
BYRON V. FLORES                                      CASE NO. 20-15320-LMI
Debtor.                                              CHAPTER 13

                       MOTION FOR RELIEF FROM STAY

       Comes now, BRIDGECREST CREDIT COMPANY, LLC, (“CREDITOR”), moves the

Court for the entry of an order granting it relief from the automatic stay and for grounds says as

follows:

       1. This Court has jurisdiction under 28 U.S.C. §1334 and 11 U.S.C. § 362.

       2. On 4/8/2017, Debtor executed and delivered a Simple Interest Retail Installment

Contract wherein he promised to make a total of payments of $20,926.81 payable in 103

consecutive bi-weekly installments of $201.22 and a final payment of $201.15. The first payment

was to be made on 04/08/2017.

       3. The Affidavit of the Creditor is attached hereto as Exhibit “A”.

       4. To secure all payments under the contract Debtor granted a security interest in the

following described property: 2016 KIA RIO, VIN KNADM4A38G6575991

       A copy of the Simple Interest Retail Installment Contract and the Lien and Title
       Information Report is attached hereto as Exhibit “B”.

       5.    The Debtor has defaulted in the following particulars:

   x        Failing to make Direct payments pursuant to the loan agreement. The Debtor failed to

the make the payment due on 5/30/20, and all subsequent payments. As of 7/30/2020, the account

is delinquent in the amount of $1,011.10. Debtor’s plan proposes that Debtor will pay Bridgecrest

Credit Company, LLC direct.

       6. As of 7/30/2020, the net rebated payoff is $4,568.29. The estimated value is $7,425.00.
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A copy of the NADA is attached hereto as Exhibit “C”.

       7. The address for post petition payments is Bridgecrest Credit Company, LLC, P O BOX

29018, Phoenix AZ 85038.

       8. The Indebtedness Worksheet is completed and marked hereto as Exhibit “D”.

       9. The Creditor requests this court waiver the fourteen (14) day “stay” in accordance with

Fed. R. Bankr. P. 4001(a)(3).

       10. Should this Honorable Court deny the Creditor’s Motion for Relief from Automatic

Stay, the Creditor would request that this Honorable Court direct that the stay shall be immediately

lifted, without further order or notice, as to the Creditor in the event that the Debtor should default

on any future payments.

       11. The Creditor has had to incur additional expense in order to collect this post-petition

debt in the form of attorney fees and costs and requests this Court award the Creditor reasonable

Attorney’s fees and costs associated with this matter.

       WHEREFORE, CREDITOR requests the entry of an order granting it relief from the

automatic stay.


                                                /s/ KENT D. MCPHAIL
                                               KENT D. MCPHAIL, ESQ.
                                               Florida Bar No. 0852767
                                               Kent McPhail & Associates, LLC
                                               P. O. Box 870
                                               Mobile, AL 36601
                                               Phone (251)438-2333
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                                               Email: kent@kmcphail.law
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                                  CERTIFICATE OF SERVICE

        I, Kent D. McPhail, do hereby certify that I have on this the 7th day of August 2020, served
a copy of the above and foregoing Motion for Relief from Stay on to the parties listed below by
the service method indicated:

U.S. MAIL, FIRST CLASS POSTAGE PREPAID
BYRON V. FLORES
14035 NW 3RD AVE
MIAMI FL 33168

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                                               /s/ KENT D. MCPHAIL
                                              KENT D. MCPHAIL
